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                             UNITED STATES DISTRICT COURT
   13
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14
   15
        UNITED STATES OF AMERICA,                CASE NO. 2:19-cv-5397-FLA (JPR)
   16
                   Plaintiff                     ORDER EXTENDING RELATOR’S
   17                                            SURRENDER DATE
                      v.
   18                                            [Filed Concurrently with Stipulation]
        CHRISTOPHER PHILIP AHN,
   19                                            Assigned to Hon. Jean Rosenbluth, U.S.
                  Relator.                       Magistrate Judge
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                     [PROPOSED] ORDER EXTENDING RELATOR’S SURRENDER DATE
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    1        For good cause shown, IT IS HEREBY ORDERED THAT the date on which
    2 Relator must surrender to the U.S. Marshal for the Central District of California be
    3 continued to June 24, 2022, at noon. However, if Relator files a habeas corpus
    4 petition on or before June 23, 2022 (45 days from the date of the Court’s
    5 certification of extradition), he need not surrender and SHALL remain free on bond
    6 under the same terms and conditions as previously imposed unless the Court orders
    7 otherwise.
    8        IT IS SO ORDERED.
    9
   10 DATED: May 26, 2022
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                                              HONORABLE JEAN P. ROSENBLUTH
   13
                                              UNITED STATES MAGISTRATE JUDGE
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                      [PROPOSED] ORDER EXTENDING RELATOR’S SURRENDER DATE
